852 F.2d 566Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Joseph BYRON, Defendant-Appellant.
    No. 88-7554.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 31, 1988.Decided:  July 21, 1988.
    
      Joseph Byron, appellant pro se.
      N. George Metcalf (Office of the U.S. Attorney), for appellee.
      Before SPROUSE, ERVIN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Joseph Byron appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Byron, C/A No. 87-441-R.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    